     Case 6:23-bk-12440-RB                         Doc        Filed 04/22/24 Entered 04/22/24 10:18:47                                Desc Main
                                                             Document      Page 1 of 6
Debtor 1               Ashley Esquivel                                                       Case Number (if known)   6:23-bk-12440-RB
                       First Name            Middle Name            Last Name




Fill in this information to identify the case:


Debtor 1         Ashley Esquivel

Debtor 2         Todd Diedrich
(Spouse, if filing)
United States Bankruptcy Court for the: Central District of California

Case number 6:23-bk-12440-RB



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges 12/16
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


                            Wilmington Savings Fund Society, FSB, not in its
                            individual capacity but solely as Legal Title
                            Trustee of the Bunker Hill Loan Depositary Trust 2019-
Name of creditor:           3                                                                     Court claim no. (if known):   16

Last 4 digits of any number you use to
identify the debtor’s account:                     2045

Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?
                      No
                      Yes. Date of the last notice:





Part 1: Itemize Postpetition Fees, Expenses, and Charges
Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
approved an amount, indicate that approval in parentheses after the date the amount was incurred.

       Description                                                              Dates Incurred                                            Amount


1.     Late Charges                                                                                                             (1)   $
2.     Non-sufficient funds (NSF) fees                                                                                          (2)   $
3.     Attorney Fees                                                            10/6/2023                                       (3)   $ 150.00
4.     Filing fees and court costs                                                                                              (4)   $
5.     Bankruptcy/Proof of claim fees                                                                                           (5)   $
6.     Appraisal/Broker's price opinion fees                                                                                    (6)   $
7.     Property inspection fees                                                                                                 (7)   $
8.     Tax advances (non-escrow)                                                                                                (8)   $
9.     Insurance advances (non-escrow)                                                                                          (9)   $
    Property preservation expenses.                                                                                             (10
10. Specify:                                                                                                                    )     $
11. Other. Specify: Objection to Plan                                           02/26/2024                                      (11) $ 550.00
                                                                                                                                (12
12. Other. Specify: Plan Review                                                 02/23/2024                                      )     $ 400.00




Official Form 410S2                          Notice of Postpetition Mortgage Fees, Expenses, and Charges                                           Page 1
    Case 6:23-bk-12440-RB                    Doc       Filed 04/22/24 Entered 04/22/24 10:18:47                          Desc Main
                                                      Document      Page 2 of 6
Debtor 1         Ashley Esquivel                                                Case Number (if known)    6:23-bk-12440-RB
                 First Name             Middle Name      Last Name




                                                                                                                   (13
13. Other. Specify:                                                                                                )     $
                                                                                                                   (14
14. Other. Specify:                                                                                                )     $


The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.



Part 2:     Sign Here
The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.
I am the creditor.
I am the creditor's authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best
of my knowledge, information, and reasonable belief.


            
             /s/     Shannon Doyle                                             Date     04/22/2024

             
             Signature

Print:          Shannon Doyle                                                  Title    Bankruptcy Attorney


Company         Ghidotti | Berger LLP


Address         1920 Old Tustin Ave
                Number              Street

                Santa Ana, CA 92705
                City                State               Zip Code



Contact phone (949) 427-2010                                                   Email    bknotifications@ghidottiberger.com




Official Form 410S2                     Notice of Postpetition Mortgage Fees, Expenses, and Charges                             Page 2
        Case 6:23-bk-12440-RB              Doc     Filed 04/22/24 Entered 04/22/24 10:18:47                Desc Main
   Invoice Date                                   Document      Page 3 of 6                                       Invoice Number
   11/01/2023                                                                                                         118815

                                       1920 Old Tustin Avenue | Santa Ana, California 92705
                                              Tel: 949.427.2010 | Fax: 949.427.2732
                                                     www.GhidottiBerger.com
Citadel Servicing Corporation
3 Ada Parkway Ste 200A
Ste 160
Irvine, CA 92618


RE: Citadel Servicing Corporation
vs. Todd Diedrich and Ashley Esquivel
Case Ref Number: 6:23-bk-12440-RB
Property Address: 12914 2nd Street, Yucaipa, CA 92399
OURFILE: 21-000442 CASE: 21-000442-7 (Trustee`s Ledger Audit )

Investor: Bank Owned
Area of Law:    Bankruptcy                                                                                     Attorney: Kelli Brown
                BK Bankruptcy Litigation

BILLING SUMMARY:
                                                           HOURLY FEES
DATE              HOURLY DESCRIPTION                                                          RATE     HOURS             AMOUNT
10/06/2023        Hourly Attorney Fee Reviewed the Trustee`s Ledger in connection            $300.00    0.50               $150.00
                  with the Client`s audit of their BK records and payments. Advised
                  client regarding pre-petition and post-petition payments, GAP
                  payments, and claim numbers. (Recoverable)
                  (Padilla, Noemi)

                                                              TOTALS
DESCRIPTION                                                                                                              AMOUNT
Total Fees This Invoice                                                                                                    $150.00
Total Costs This Invoice                                                                                                     $0.00
Total Fees and Costs This Invoice                                                                                          $150.00
Previous Outstanding Balance                                                                                                      $
Total Balance Now Due                                                                                                      $150.00

                                           Thank you for the opportunity to be of service.
        Case 6:23-bk-12440-RB            Doc     Filed 04/22/24 Entered 04/22/24 10:18:47    Desc Main
   Invoice Date                                 Document      Page 4 of 6                       Invoice Number
   02/29/2024                                                                                       131055

                                      1920 Old Tustin Avenue | Santa Ana, California 92705
                                             Tel: 949.427.2010 | Fax: 949.427.2732
                                                    www.GhidottiBerger.com
Citadel Servicing Corporation
3 Ada Parkway Ste 200A
Ste 160
Irvine, CA 92618


RE: Citadel Servicing Corporation
vs. Todd Diedrich and Ashley Esquivel
Case Ref Number: 6:23-bk-12440-RB
Property Address: 12914 2nd Street, Yucaipa, CA 92399
OURFILE: 21-000442 CASE: 21-000442-10

Investor: Bank Owned
Area of Law:    Bankruptcy                                                                   Attorney: Kelli Brown
                BK Plan Review

BILLING SUMMARY:
                                                              FEES
DATE              FEE DESCRIPTION                                                                      AMOUNT
02/23/2024        Fannie Mae - Bankruptcy - Plan Review (Recoverable)                                    $400.00

                                                            TOTALS
DESCRIPTION                                                                                            AMOUNT
Total Fees This Invoice                                                                                  $400.00
Total Costs This Invoice                                                                                   $0.00
Total Fees and Costs This Invoice                                                                        $400.00
Previous Outstanding Balance                                                                                    $
Total Balance Now Due                                                                                    $400.00

                                         Thank you for the opportunity to be of service.
Case 6:23-bk-12440-RB   Doc    Filed 04/22/24 Entered 04/22/24 10:18:47   Desc Main
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       Case 6:23-bk-12440-RB             Doc      Filed 04/22/24 Entered 04/22/24 10:18:47      Desc Main
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1920 Old Tustin Avenue, Santa Ana, CA 92705



  Notice of Postpetition Mortgage Fees, Expenses and Charges




 04/22/2024


Counsel for Debtor(s): Benjamin Heston , estonecf@gmail.com
Chapter 13 Trustee: Rod Danielson, notice-efile@rodan13.com
U.S. Trustee: United States Trustee , ustpregion16.rs.ecf@usdoj.gov




            04/22/2024



Debtor(s): Todd Diedrich Ashley Esquivel, 12914 2nd Street, Yucaipa, CA 92399




04/22/2024                 Shannon Doyle                                        Shannon Doyle
